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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NEW YORK
                        BROOKLYN DIVISION


JORGE ROBLES,                              Case No. 1:25-cv-02274

           Plaintiff,
                                            NOTICE OF VOLUNTARY
     v.                                     DISMISSAL
EQUIFAX, LLC,
               Defendants.



      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff, Jorge

Robles, hereby dismisses the above-titled action in its entirety against Defendant

Equifax, LLC.

Dated: April 30, 2025                       Respectfully submitted,

                               By:          /s/ Jeffrey Lohman
                                            Jeffrey Lohman
                                            Gator Law, P.C.
                                            2 N Central Avenue, Ste 1800
                                            Phoenix, AZ 85004
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                                            Attorney for Plaintiff,
                                            Jorge Robles




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                          CERTIFICATE OF SERVICE

      I hereby certify that on April 30, 2025, I served Plaintiff’s Notice of Dismissal

using the CM/ECF system, which will generate an auto notice to all counsel of

record.



                                       By:    /s/ Jeffrey Lohman
                                              Jeffrey Lohman
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